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     JAMES M. JELLISON, ESQ. #012763
 5   Attorney for Defendant Surprise Police Department, Kopronica, Knight, and Anderson
 6                          IN THE UNITED STATES DISTRICT COURT
 7                                        DISTRICT OF ARIZONA
 8                                                        Case No.: 2:21-cv-01088-DWL-JZB
     Jabril Caldwell-Parker,
 9                                                        DEFENDANTS CITY OF SURPRISE
                            Plaintiff,                    POLICE DEPARTMENT,
10   vs.                                                  KOPRONICA, KNIGHT, AND
                                                          ANDERSON’S ANSWER TO
11   Surprise Police Department, et al.                   PLAINTIFF’S FIRST AMENDED
                                                          COMPLAINT
12                          Defendants.
                                                          (Jury Trial Demanded)
13
14
              Defendants City of Surprise Police Department, Kopronica, Knight, and Anderson
15
     (collectively referred to as “Defendants”), 1 through undersigned counsel, in accordance with
16
     this Court’s Order at Doc. 8 and in response to Plaintiff’s First Amended Complaint (the
17
     “Complaint”) (Doc. 13) admit, deny, and allege as follows:
18
              1.     Defendants admit that on or about May 4, 2021 personnel assigned to the Surprise
19
20   Police Department responded to a dispatch for a welfare check regarding two females and a

21   male, later identified as Plaintiff Jabril Caldwell-Parker, and during the course of the

22   investigation identified facts supporting probable cause that Plaintiff had committed several

23   crimes including but not limited to assault, disorderly conduct and resisting arrest.
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25   1
         These are the only Defendants named in, and required by Court Order, to answer.
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 1            2.    Defendants deny the remaining allegations contained in the Complaint.
 2            3.    Defendants demand trial by jury on all triable issues.
 3                                       AFFIRMATIVE DEFENSES
 4            1.    Although not an affirmative defense, Defendants assert Plaintiff does not state
 5   claims upon which relief may be granted.
 6
              2.    Defendants assert failure to mitigate damages.
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              3.    Defendants assert offset or application of amounts received.
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              4.    Defendants assert statute of limitations.
 9
              5.    Defendants assert entitlement to all immunities and justifications applicable
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     under federal or state law including, without limitation, all immunities afforded public entities
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     and/or public employees, absolute or qualified, including, but not necessarily limited to, those
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     immunities afforded pursuant to A.R.S. §§12-820.01, -820.02, -820.04, -820.05, and A.R.S. §§
13
     13-401 through -413, federal case law, and common law. They further assert punitive damages
14
15   are not authorized and/or are barred pursuant to authorities which include City of Newport v.

16   Fact Concerts, Inc., 101 S.Ct. 2478 (1981), A.R.S. §12-820.04, and/or any other constitutional,

17   statutory, regulatory, and/or common law principle. They further assert that none of the acts,

18   omissions, or other conduct alleged as to them rise to the level authorizing an award of punitive
19   damages, even if allowed.
20            6.    Defendants assert the City of Surprise Police Department is not a jural entity for
21   purposes of claim brought under federal or state law.
22            7.    Defendants assert Plaintiff is wholly, comparatively, and/or contributorily at
23   fault.
24
              8.    Defendants assert that other parties, either named or not named, are wholly,
25
     comparatively, and/or contributorily at fault.
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              9.    Defendants assert they acted lawfully at all times.



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 1          10.    Defendants assert the absence of respondeat superior, the absence of other forms
 2   of vicarious liability, or any form of joint and several liability, as to the conduct of any person,
 3   and the absence of Monell liability.
 4          11.    Defendants plead intervening and/or superseding causes.
 5          12.    Defendants assert failure to exhaust administrative remedies including, but not
 6
     limited to, those administrative remedies and/or notices required by A.R.S. 12-821.01.
 7
            13.    Defendants      raise    the   defense    provided     for   by    A.R.S.     §12-716
 8
     defense/presumption re use of force and use of force policy and training.
 9
            14.    Defendants do not presently have specific facts in support of the following
10
     defenses, but wish to put Plaintiff on notice that they raise these defenses which, through
11
     subsequent discovery may, indeed, be supported by the facts: lack of jurisdiction over the
12
     subject matter, lack of jurisdiction over the person, accord and satisfaction, arbitration and
13
     award, the doctrine contained in Heck v. Humphrey, discharge in bankruptcy, duress, estoppel
14
15   and/or waiver, set-off, failure to join an indispensable party, failure of consideration, fraud,

16   illegality, laches, license, payment, release, res judicata, collateral estoppel or issue preclusion,

17   and statute of frauds.

18          WHEREFORE, Defendants respectfully pray that Judgment be entered in their favor,
19   and against Plaintiff, and that they be awarded all attorneys’ fees, costs, and other forms of
20   relief authorized by law or deemed just by this Court.
21          DATED this 27th day of August, 2021.
22
                                                  JELLISON LAW OFFICES, PLLC
23
24
                                                  s/James M. Jellison
25                                                James M. Jellison
                                                  Attorneys for Defendants City of Surprise Police
26                                                Department, Kopronica, Knight, and Anderson




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 1                         CERTIFICATE OF FILING AND SERVICE
 2          I hereby certify that on August 27, 2021, I electronically transmitted the attached
     document to the Clerk’s office using the CM/ECF system for filing and transmittal of a Notice
 3   of Electronic filing to the following registrant, and by U.S. Mail to the following:
 4
     Jabrill Caldwell-Parker
 5   17317 W. Acapulo Ln.
     Surprise, Arizona 85388
 6   inventingwill@gmail.com
     Plaintiff pro per
 7
     Trinitee Sapp
 8   9450 W. Cabela Dr., Apt 4367
 9   Glendale, Arizona 85305
     Trinitee_Sapp@hotmail.com
10   Defendant pro per
11   s/James M. Jellison
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